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           Exhibit 5
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                                                                                                                                            Exhibit 99.1




                                  UserTesting Reports Second Quarter 2022 Financial Results
                              Record Second Quarter Revenue of $47.6 million, up 36% year-over-year

San Francisco, August 4, 2022, UserTesting, Inc. (NYSE: USER), a leader in video-based human insight, today announced financial results for the
second quarter ended June 30, 2022.

“The second quarter represented our sixth consecutive quarter of year-over-year subscription growth over 40%, with record total revenue of $48
million, up 36% year-over-year,” said Andy MacMillan, CEO of UserTesting. “While we are prudently managing our expense structure in the near-
term given the uncertain economic outlook, we firmly believe the mid to long-term opportunities for our business remain robust as our Human
Insight Platform fundamentally helps companies better understand the driving forces behind customer behavior and delivers actionable insights to
make smarter and faster business decisions.”

Second Quarter 2022 Financial Highlights:

•Revenue: Total revenue was $47.6 million, up 36% year-over-year. Subscription revenue was $45.2 million, up 40% year-over-year.
•Operating Loss and Margin: GAAP operating loss was $(18.7) million, or (39)% of total revenue, compared to $(11.5) million, or (33)% of total
revenue, in the same period last year. Non-GAAP operating loss was $(10.6) million, or (22)% of total revenue, compared to $(10.0) million, or (29)%
of total revenue, in the same period last year.
•Net Loss: GAAP net loss was $(18.7) million, or $(0.13) per share, compared to $(11.7) million, or $(0.63) per share, in the same period last year. Non-
GAAP net loss was $(10.6) million, or $(0.07) per share, compared to $(10.2) million, or $(0.55) per share, in the same period last year.
•Cash Flow: Net cash used in operations was $(1.3) million, compared to $(8.0) million in the same period last year. Free cash flow was $(1.6) million,
compared to $(8.5) million in the same period last year.
• Cash and Cash Equivalents: Cash and cash equivalents were $164.4 million as of June 30, 2022.

Recent Business Highlights:

•Recent new wins and growth deals included Chase Bank, Minute Media, Pearson, Picsart, Rocket Central, Tailored Brands, Trainline and
Woolworths.
•UserTesting named to Inc. Magazine’s Annual List of Best Workplaces for 2022.
•UserTesting brings greater privacy and confidentiality to a growing list of healthcare industry leaders with its new HIPAA compliance certification.
•Introduced new product templates that help companies better understand changing customer perceptions around inflation.
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Financial Outlook:

The following revenue guidance reflects the Company’s demand expectations based on the current global macroeconomic outlook. In anticipation
of these headwinds, the Company recently conducted a reduction in force which it expects will reduce the growth rate of operating expenses. As a
result, the Company now expects improved operating leverage for the full year, despite the changing macroeconomic impact to revenue.

For the third quarter ending September 30, 2022, UserTesting currently expects:

•Total revenue between $47.5 million and $48.5 million.
•Non-GAAP operating margin between (27.0)% and (29.0)%.
•Non-GAAP net loss per share between $(0.09) and $(0.10) assuming 144.5 million weighted-average shares outstanding.

For the full year ending December 31, 2022, UserTesting currently expects:

•Total revenue between $190.0 million and $193.0 million.
•Non-GAAP operating margin between (23.0)% and (25.0)%.
•Non-GAAP net loss per share between $(0.31) and $(0.33) assuming 144.0 million weighted-average shares outstanding.

The guidance provided above are forward-looking statements and actual results may differ materially. Refer to the “Forward-Looking Statements”
section below for information on the factors that could cause our actual results to differ materially from these forward-looking statements.

Non-GAAP gross profit, non-GAAP gross margin, non-GAAP operating loss, non-GAAP operating loss margin, non-GAAP net loss, non-GAAP
net loss per share, free cash flow and free cash flow margin are non-GAAP financial measures. Additional information on UserTesting’s reported
results, including a reconciliation of the non-GAAP financial measures to their most comparable GAAP measures, is included in the financial tables
below. Our definition for each non-GAAP measure used is provided below, however a limitation of non-GAAP financial measures is that they do not
have uniform definitions. Accordingly, our definitions for non-GAAP measures used will likely differ from similarly titled non-GAAP measures used
by other companies thereby limiting comparability. In addition, the utility of free cash flow as a measure of our liquidity is limited as it does not
represent the total increase or decrease in our cash and cash equivalents balance for a given period.

With regards to the non-GAAP guidance provided above, a reconciliation of non-GAAP guidance measures to corresponding GAAP measures is
not available on a forward-looking basis without unreasonable effort due to the uncertainty of expenses that may be incurred in the future,
although it is important to note that these factors could be material to UserTesting’s results computed in accordance with GAAP.

A supplemental financial presentation and other information can be accessed through UserTesting’s investor relations website at
https://ir.usertesting.com.

UserTesting Conference Call

UserTesting will host a conference call today on August 4, 2022 to review its second quarter 2022 financial results and to discuss its financial
outlook. The call is scheduled to begin at 5:00am Pacific Time (8:00am Eastern Time). Investors are invited to join the webcast by visiting
https://ir.usertesting.com/news-events. The webcast will be available live, and a replay will be available following the completion of the live
broadcast for approximately 90 days.
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About UserTesting

UserTesting (NYSE: USER) has fundamentally changed the way organizations get insights from customers with fast, opt-in feedback and
experience capture technology. The UserTesting® Human Insight Platform taps into our global network of real people and generates video-based
recorded experiences, so anyone in an organization can directly ask questions, hear what users say, see what they mean, and understand what it’s
actually like to be a customer. Unlike approaches that track user behavior then try to infer what that behavior means, UserTesting reduces
guesswork and brings customer experience data to life with human insight. UserTesting has over 2,500 customers, including more than half of the
world’s top 100 most valuable brands according to Forbes. UserTesting is headquartered in San Francisco, California. To learn more, visit
www.usertesting.com.

Forward-Looking Statements

This press release by UserTesting, Inc. (“UserTesting,” the “Company,” “we,” “us,” or similar terms) contains forward-looking statements. These
statements may relate to, but are not limited to, our financial outlook for the third quarter and full year 2022, expectations that the reduction in force
will reduce the growth rate of operating expenses and improve operating leverage, expectations of future operating results or financial performance,
market size and growth opportunities, plans for future operations, competitive position, technological capabilities, and strategic relationships, as
well as assumptions relating to the foregoing. Forward-looking statements are inherently subject to risks and uncertainties, some of which cannot
be predicted or quantified. In some cases, you can identify forward-looking statements by terminology such as “believe,” “may,” “will,”
“potentially,” “estimate,” “continue,” “anticipate,” “intend,” “could,” “would,” “project,” “target,” “plan,” “expect,” and similar expressions. You
should not put undue reliance on any forward-looking statements. There are a significant number of factors that could cause our actual results,
performance, or achievement to differ materially and adversely from the statements made in this press release, including: intense competition in our
market; our ability to attract new customers and renew and expand sales to existing customers; our ability to effectively introduce enhancements to
our platform, including new products, services, features, and functionality, that achieve market acceptance or keep pace with technological
developments; quarterly fluctuations in operating results; our ability to maintain data privacy and data security; our limited operating history under
our current business and pricing models; our ability to effectively manage growth; our ability to expand internationally; unfavorable conditions in
our industry and other general market, political, economic, and business conditions, including those related to the continuing impact of COVID-19,
heightened inflation and rising interest rates. For more information regarding the risks and uncertainties that could cause actual results,
performance, or achievement to differ materially and adversely from those expressed or implied in these forward-looking statements, as well as risks
relating to our business in general, we refer you to the “Risk Factors” section of our Securities and Exchange Commission (the “SEC”) filings,
including our Quarterly Report on Form 10-Q for the quarter ended March 31, 2022 filed on May 4, 2022, our Quarterly Report on Form 10-Q to be
filed for the quarter ended June 30, 2022, and other filings and reports that we may file from time to time with the SEC, copies of which are available
on our website at https://ir.usertesting.com and on the SEC’s website at www.sec.gov. You should not rely on these forward-looking statements, as
actual outcomes and results may differ materially from those contemplated by these forward-looking statements as a result of such risks and
uncertainties. All forward-looking statements in this press release are based on information available to us as of the date hereof, and we do not
assume any obligation to update the forward-looking statements provided to reflect events that occur or circumstances that exist after the date of
this press release or to reflect new information or the occurrence of unexpected events, except as required by law. We may not actually achieve the
plans, intentions, or expectations disclosed in our forward-looking statements, and you should not place undue reliance on our forward-looking
statements.

Non-GAAP Financial Measures

To supplement our financial results, which are prepared and presented in accordance with GAAP, we use certain non-GAAP financial measures, as
described below, to understand and evaluate our core performance. These non-GAAP measures, which may be different from similarly-titled
measures used by other companies, are presented to enhance investors’ overall understanding of our financial performance and should not be
considered a substitute for, or superior to, the financial information prepared and presented in accordance with GAAP.

We believe that these non-GAAP financial measures provide useful information about our financial performance, enhance the overall
understanding of our past performance and future prospects, and allow for greater transparency
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with respect to important metrics used by our management for financial and operational decision- making. We are presenting these non-GAAP
measures to assist investors in seeing our financial performance using a management view, and because we believe that these measures provide an
additional tool for investors to use in comparing our core financial performance over multiple periods with other companies in our industry. You
should consider non-GAAP results alongside other financial performance measures and results presented in accordance with GAAP. In addition, in
evaluating non-GAAP results, you should be aware that in the future we will incur expenses such as those that are the subject of adjustments in
deriving non-GAAP results and you should not infer from our non-GAAP results that our future results will not be affected by these expenses or
any unusual or non-recurring items.
Non-GAAP gross profit, non-GAAP operating loss, non-GAAP net loss, non-GAAP net loss per share: We define these non-GAAP financial
measures as the respective GAAP measures, excluding stock-based compensation expenses, amortization of acquired intangible assets, reversals of
prior sales and use tax accruals and related penalties and interest, restructuring expenses and the tax impact of the non-GAAP adjustments. We
believe it is useful to exclude these expenses in order to better understand the long-term performance of our core business and to facilitate
comparison of our results over multiple periods and to those of peer companies.

Non-GAAP gross margin and non-GAAP operating loss margin: Non-GAAP gross margin is calculated as non-GAAP gross profit divided by total
revenue. Non-GAAP operating loss margin is calculated as non-GAAP operating loss divided by total revenue. We use these non-GAAP financial
measures in conjunction with traditional GAAP measures to evaluate our financial performance.

Free cash flow and free cash flow margin: We define free cash flow as net cash used in operating activities less cash used for purchases of
property and equipment and capitalized internal-used software. Free cash flow margin is calculated as free cash flow divided by total revenue. We
believe that these non-GAAP financial measures are useful indicators of liquidity that provides information to management and investors, even if
negative, about the amount of cash generated (or used) in our operations that, after investments in property and equipment, can be used for
strategic opportunities and strengthening our balance sheet. However, free cash flow is not a substitute for cash used in operating activities. The
utility of free cash flow and free cash flow margin is limited as these measures do not reflect our future contractual commitments and do not
represent the total increase or decrease in our cash balance for any given period.

Non-GAAP Supplemental Financial Information

Calculated Billings: We define calculated billings, a non-GAAP financial measure, as total revenue plus the change in contract liabilities from the
beginning to the end of the period. We typically invoice our customers annually in advance, and to a lesser extent quarterly in advance, for
subscriptions to our platform. Calculated billings in any particular period reflect amounts invoiced to customers.
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                                                                      UserTesting, Inc.
                                                        Condensed Consolidated Statements of Operations
                                                           (in thousands, except per share amounts)
                                                                          (unaudited)

                                                                                Three Months Ended June 30,                         Six Months Ended June 30,
                                                                                 2022                2021                           2022                2021
Revenue
   Subscription                                                         $               45,170 $                  32,250 $                 88,383 $                  60,932
   Professional services                                                                 2,392                     2,829                    5,031                     5,337
      Total revenue                                                                     47,562                    35,079                   93,414                    66,269
Cost of revenue
   Subscription                                                                          8,489                     7,225                   16,106                    13,842
   Professional services                                                                 2,530                     2,038                    4,712                     4,123
      Total cost of revenue                                                             11,019                     9,263                   20,818                    17,965
Gross profit                                                                            36,543                    25,816                   72,596                    48,304
Operating expenses:
   Sales and marketing                                                                  33,318                    20,535                   63,387                    39,128
   Research and development                                                             11,890                     9,816                   22,970                    19,585
   General and administrative                                                           10,056                     6,974                   20,001                    13,325
      Total operating expenses                                                          55,264                    37,325                  106,358                    72,038
Loss from operations                                                                  (18,721)                  (11,509)                 (33,762)                  (23,734)
Interest income, net                                                                         8                        34                       20                        74
Other income (expense), net                                                                100                      (61)                       20                     (213)
  Loss before provision for income taxes                                              (18,613)                  (11,536)                 (33,722)                  (23,873)
  Provision for income taxes                                                               107                       185                      201                       294
Net loss                                                                $             (18,720) $                (11,721) $               (33,923) $                (24,167)
Net loss per share attributable to common stockholders,
basic and diluted(1)                                                    $                (0.13) $                 (0.63) $                  (0.24) $                  (1.31)
Weighted-average shares used in computing net loss per
share attributable to common stockholders, basic and
diluted(1)                                                                             143,325                    18,733                  142,908                    18,412
____________
(1)
   Includes the impact of (i) the issuance of shares of common stock by UserTesting in its initial public offering, and (ii) the conversion of all then outstanding shares of
convertible preferred stock into shares of common stock in connection with the initial public offering, in the weighted-average shares calculation weighted from the date
of the initial public offering.
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Stock-based Compensation Expense

The following table summarizes total stock-based compensation expense included in cost of revenue and operating expenses (in thousands):

                                                                    Three Months Ended June 30,                 Six Months Ended June 30,
                                                                     2022                2021                   2022                2021
Cost of revenue:
  Subscription                                               $               217 $                  11 $                 342 $                  19
  Professional services                                                      278                    46                   462                    82
Operating expenses:
  Sales and marketing                                                       3,473                   375                6,137                   675
  Research and development                                                  1,884                   222                3,190                   383
  General and administrative                                                2,251                   570                5,249                   973
                                                             $              8,103 $               1,224 $             15,380 $               2,132


Amortization of Intangible Assets

The following table summarizes total amortization of acquired intangible assets included in cost of revenue and operating expenses (in thousands):

                                                                    Three Months Ended June 30,                 Six Months Ended June 30,
                                                                     2022                2021                   2022                2021
Cost of revenue:
  Subscription                                               $                 21 $                167 $                  42 $                 329
Operating expenses:
  Sales and marketing                                                           -                   49                     -                    97
  Research and development                                                     42                   46                    85                    87
                                                             $                 63 $                262 $                 127 $                 513
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                                                              UserTesting, Inc.
                                                    Condensed Consolidated Balance Sheets
                                                               (in thousands)
                                                                 (unaudited)

                                                                                                   June 30,          December 31,
                                                                                                     2022                2021
Assets
Current assets:
   Cash and cash equivalents                                                                $            164,435 $           178,430
   Accounts receivable, net                                                                               42,654              47,973
   Costs capitalized to obtain revenue contracts, current                                                  8,509               8,116
   Prepaid expenses and other current assets                                                               9,559               6,045
      Total current assets                                                                               225,157             240,564
Property and equipment, net                                                                                3,223               3,257
Operating lease right-of-use assets, net                                                                  13,799              16,401
Intangible assets, net                                                                                       513                 640
Goodwill                                                                                                   8,785               8,785
Costs capitalized to obtain revenue contracts, non-current                                                12,565              12,941
Other long-term assets                                                                                       700                 540
      Total assets                                                                          $            264,742 $           283,128
Liabilities and Stockholders’ Equity
Current liabilities:
   Accounts payable                                                                         $              1,392 $             1,544
   Contract liabilities                                                                                   99,793              90,952
   Operating lease liabilities, current                                                                    5,216               5,271
   Accrued expenses and other current liabilities                                                         12,362              21,799
      Total current liabilities                                                                          118,763             119,566
Operating lease liabilities, non-current                                                                  10,373              12,996
Other long-term liabilities                                                                                  887                 887
      Total liabilities                                                                                  130,023             133,449
Stockholders’ equity:
     Preferred stock                                                                                           -                   -
     Common stock and capital in excess of par value                                                     371,844             352,881
   Accumulated deficit                                                                                 (237,125)           (203,202)
      Total stockholders’ equity                                                                         134,719             149,679
Total liabilities and stockholders’ equity                                                  $            264,742 $           283,128
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                                                          UserTesting, Inc.
                                            Condensed Consolidated Statements of Cash Flows
                                                            (in thousands)
                                                              (unaudited)
                                                                                                  Six Months Ended June 30,
                                                                                                  2022                2021
Cash flows from operating activities:
Net loss                                                                                      $       (33,923) $          (24,167)
Adjustments to reconcile net loss to net cash used in operating activities:
  Depreciation and amortization                                                                           756                    771
  Stock-based compensation expense                                                                     15,380                  2,132
  Provision for allowance for doubtful accounts                                                           231                     55
  Amortization of costs capitalized to obtain revenue contracts                                         4,489                  2,968
  Changes in operating assets and liabilities:
      Accounts receivable                                                                                5,088             (5,761)
      Costs capitalized to obtain revenue contracts                                                    (4,506)             (5,437)
      Prepaid expenses and other assets                                                                (3,674)             (3,278)
      Accounts payable                                                                                   (144)                 745
      Accrued liabilities                                                                              (9,284)               1,069
      Contract liabilities                                                                               8,841              11,438
      Other liabilities                                                                                   (35)                 619
         Net cash used in operating activities                                                        (16,781)            (18,846)
Cash flows from investing activities:
  Purchase of property and equipment                                                                    (695)                   (971)
  Purchase of intangible assets                                                                             -                   (150)
         Net cash used in investing activities                                                          (695)                 (1,121)
Cash flows from financing activities:
     Payment of offering costs                                                                           (102)             (2,573)
     Payment of deferred purchase consideration                                                              -             (1,766)
     Proceeds from issuance of common stock upon exercise of stock options                               1,556                 804
     Proceeds from issuance of common stock under the employee stock purchase plan                       2,027                   -
         Net cash provided by (used in) financing activities                                             3,481             (3,535)
Net decrease in cash and cash equivalents                                                             (13,995)            (23,502)
Cash and cash equivalents, beginning of period                                                         178,430              96,972
Cash and cash equivalents, end of period                                                      $        164,435 $            73,470
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                                                                UserTesting, Inc.
                                       Reconciliation of GAAP to Non-GAAP Gross Profit and Gross Margin
                                                             (dollars in thousands)
                                                                   (unaudited)
                                                          Three Months Ended June 30, 2022                                     Three Months Ended June 30, 2021
                                                                    Professional                                                         Professional
                                           Subscription               Services               Total              Subscription               Services               Total
GAAP gross profit                      $         36,681  $                  (138)  $           36,543  $              25,025  $                    791  $           25,816
GAAP gross margin                                    81%                      (6)%                 77%                    78%                       28%                 74%
Adjustments:
   Stock-based compensation expense                 217                       278                 495                     11                        46                  57
   Amortization of intangible assets                 21                         -                  21                    167                         -                 167
Non-GAAP gross profit                  $         36,919        $              140       $      37,059       $         25,203        $              837     $        26,040
Non-GAAP gross margin                                 82%                          6%                 78%                  78%                      30%                   74%




                                                           Six Months Ended June 30, 2022                                       Six Months Ended June 30, 2021
                                                                    Professional                                                         Professional
                                           Subscription               Services               Total              Subscription               Services               Total
GAAP gross profit                      $         72,277  $                    319  $           72,596  $              47,090  $                  1,214  $           48,304
GAAP gross margin                                    82%                        6%                 78%                    77%                       23%                 73%
Adjustments:
   Stock-based compensation expense                 342                       462                 804                     19                        82                 101
   Amortization of intangible assets                 42                         -                  42                    329                         -                 329
Non-GAAP gross profit                  $         72,661        $              781       $      73,442       $         47,438        $            1,296     $        48,734
Non-GAAP gross margin                                 82%                      16%                    79%                  78%                      24%                   74%
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                                                                                     UserTesting, Inc.
                                                                Reconciliation of GAAP to Non-GAAP Operating Expenses
                                                                                   (dollars in thousands)
                                                                                         (unaudited)
                                                                         Three Months Ended June 30, 2022                                                         Three Months Ended June 30, 2021
                                                    Sales and           Research and          General and              Total Operating       Sales and           Research and          General and              Total Operating
                                                    Marketing           Development          Administrative               Expenses           Marketing           Development          Administrative               Expenses
GAAP expenses                                   $      33,318       $        11,890      $          10,056         $         55,264      $      20,535       $          9,816     $            6,974        $         37,325
Adjustments:
      Stock-based compensation expense                 (3,473)               (1,884)                (2,251)                  (7,608)              (375)                 (222)                  (570)                  (1,167)
      Amortization of intangible assets                      -                  (42)                      -                     (42)               (49)                  (46)                      -                     (95)
      Reversal of sales and use tax accruals,
      penalties and interest                                    -                   -                         -                     -                    -                   -                         -                     -
   Non-GAAP expenses                            $      29,845       $          9,964     $            7,805        $         47,614      $      20,111       $          9,548     $            6,404        $         36,063
   Non-GAAP expenses as a % of revenue                      6 3%                  2 1%                      1 6%                 100%                5 7%                  2 7%                      1 8%                 103%




                                                                           Six Months Ended June 30, 2022                                                           Six Months Ended June 30, 2021
                                                    Sales and           Research and          General and              Total Operating       Sales and           Research and          General and              Total Operating
                                                    Marketing           Development          Administrative               Expenses           Marketing           Development          Administrative               Expenses
GAAP expenses                                   $      63,387       $        22,970      $          20,001         $        106,358      $       39,128      $         19,585     $           13,325        $         72,038
Adjustments:
      Stock-based compensation expense                 (6,137)               (3,190)                (5,249)                 (14,576)              (675)                 (383)                  (973)                  (2,031)
      Amortization of intangible assets                      -                  (85)                      -                     (85)               (97)                  (87)                      -                    (184)
      Reversal of sales and use tax accruals,
      penalties and interest                                    -                   -                 1,157                    1,157                     -                   -                         -                     -
   Non-GAAP expenses                            $      57,250       $        19,695      $          15,909         $          92,854     $       38,356      $         19,115     $           12,352        $         69,823
   Non-GAAP expenses as a % of revenue                      6 1%                  2 1%                      1 7%                  9 9%               5 8%                  2 9%                      1 9%                 105%
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                                                             UserTesting, Inc.
                               Reconciliation of GAAP to Non-GAAP Operating Loss and Operating Loss Margin
                                                           (dollars in thousands)
                                                                 (unaudited)
                                                                  Three Months Ended June 30,                  Six Months Ended June 30,
                                                                   2022                2021                    2022                2021
GAAP operating loss                                       $          (18,721)  $           (11,509)  $           (33,762)  $           (23,734)
GAAP operating loss margin                                               (39)%                 (33)%                 (36)%                 (36)%
Adjustments:
  Stock-based compensation expense                                      8,103                   1,224              15,380                   2,132
  Amortization of intangible assets                                        63                     262                 127                     513
    Reversal of sales and use tax accruals, penalties and
    interest                                                                -                    -                (1,157)                     -
Non-GAAP operating loss                                   $          (10,555)      $      (10,023)         $     (19,412)      $       (21,089)
Non-GAAP operating loss margin                                           (22)%                   (29)%               (21)%                   (32)%


                                                                UserTesting, Inc.
                                     Reconciliation of GAAP to Non-GAAP Net Loss and Net Loss Per Share
                                                     (in thousands, except per share amounts)
                                                                    (unaudited)

                                                                    Three Months Ended June 30,                 Six Months Ended June 30,
                                                                     2022                2021                   2022                2021
GAAP net loss                                                 $           (18,720) $             (11,721) $         (33,923) $             (24,167)
Adjustments:
  Stock-based compensation expense                                          8,103                  1,224             15,380                  2,132
  Amortization of intangible assets                                            63                    262                127                    513
    Reversal of sales and use tax accruals, penalties and
    interest                                                                     -                      -            (1,157)                      -
Non-GAAP net loss                                             $           (10,554) $             (10,235) $         (19,573) $             (21,522)

GAAP net loss per share, basic and diluted                    $             (0.13) $               (0.63) $           (0.24) $               (1.31)
Adjustments to GAAP net loss per share:
  Stock-based compensation expense                                              0.06                0.07                0.11                  0.11
  Amortization of intangible assets                                                -                0.01                   -                  0.03
  Reversal of sales and use tax accruals, penalties and
  interest                                                                       -                      -             (0.01)                      -
  Non-GAAP net loss per share, basic and diluted              $             (0.07) $               (0.55) $           (0.14) $               (1.17)
  Weighted-average shares used in computing non-GAAP
  net loss per share, basic and diluted                                   143,325                 18,733            142,908                 18,412
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                                                            UserTesting, Inc.
                                                   Non-GAAP Free Cash Flow Reconciliation
                                                          (dollars in thousands)
                                                                (unaudited)
                                                               Three Months Ended June 30,               Six Months Ended June 30,
                                                                2022                2021                 2022                2021
GAAP net cash used in operating activities              $          (1,272)    $         (8,011)      $     (16,781)    $        (18,846)
Add: Purchases of property and equipment                             (370)                (535)               (695)                (971)
Non-GAAP free cash flow                                 $          (1,642)    $         (8,546)      $     (17,476)    $        (19,817)
Non-GAAP free cash flow margin                                         (3)%                  (24)%             (19)%                 (30)%



                                                             UserTesting, Inc.
                                                 Non-GAAP Supplemental Financial Information
                                                           (dollars in thousands)
                                                                 (unaudited)
                                                               Three Months Ended June 30,               Six Months Ended June 30,
                                                                2022                2021                 2022                2021
Revenue                                                 $          47,562     $          35,079      $       93,414    $         66,269
Increase in contract liabilities                                    5,073                 6,411               8,841              11,438
Calculated billings                                     $          52,635     $          41,490      $      102,255    $         77,707
Year-over-year calculated billings growth rate                         27%                    64%               32%                   51%


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